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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               C.A. No. 24-cv-20492-ALTMAN

  In re Application of                           :
                                                 :
  PHILIPPE MARTINEZ,                             :
  MSR MEDIA SKN LTD.,                            :
                                                 :
  Applicants, for an Order Pursuant to           :
  28 U.S.C. § 1782 to Conduct Discovery          :
  for Use in Foreign Proceedings.                :


    OPPOSITION TO CARIBBEAN GALAXY REAL ESTATE CORPORATION AND
   YING JIN’S MOTION TO QUASH APPLICANTS’ ADDITIONAL SUBPOENAS AND
        TO DR. TIMOTHY HARRIS’ NOTICE OF JOINDER AND ADOPTION

  1. Philippe Martinez and MSR Media SKN Limited (“Applicants”), through undersigned

     counsel, hereby oppose the Motion to Quash Applicants’ Additional Subpoenas (“Third

     Motion to Quash”), dated May 8, 2024 (ECF No. 26), filed by Caribbean Galaxy Real Estate

     Corporation and Ying Jin (together, “Caribbean Galaxy”) and Dr. Timothy Harris’ Notice of

     Joinder and Adoption (“Second Harris Joinder”), dated May 10, 2024 (ECF No. 27), filed by

     Dr. Timothy Harris (“Dr. Harris”), and respectfully ask this Court to deny the Third Motion to

     Quash. In support thereof, Applicants state as follows.

  2. Federal Rules of Civil Procedure 45(a)(4) is not applicable to the instant case and did not

     require Applicants to serve Caribbean Galaxy or Dr. Harris (collectively, “Movants”) with the

     subpoenas prior to serving Wells Fargo Bank, N.A., The Bank of New York Mellon

     Corporation, BNY Mellon, N.A., and Standard Chartered International USA (LLC)

     (collectively, the “Subpoenas”).     Movants are non-parties to this ex parte Application

     proceeding and therefore not entitled to notice under Rule 45. Moreover, Rule 45 does not

     require notice of this type of subpoena because the Subpoenas are not a pre-trial or trial




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     subpoenas in U.S. litigation. Applicants are, therefore, permitted by Section 1782 to proceed

     ex parte.

  3. But even assuming arguendo that Rule 45 did require prior notice of the Subpoenas, the parties

     now have actual notice, and any purported procedural defect has been cured. Thus, the parties

     have had the opportunity to challenge the Subpoenas on the merits, which they have done

     through their motions to quash. The proper course of action, therefore, is for the Court to rule

     on the merits of the pending motion to quash.

  4. On the merits, Applicants reiterate that, as the Court previously found, their Application meets

     the statutory requirements of 28 U.S.C. § 1782 as well as the Intel factors.

  5. Applicants therefore respectfully request that this Court deny the Third Motion to Quash.

         WHEREFORE, Applicants respectfully request that this Court:

         a.      Deny the Third Motion to Quash and Second Harris Joinder; and

         b.      Grant any and all other further relief to Applicants as deemed just and proper.

                                                      Respectfully submitted,

                                                      MILLER & CHEVALIER CHARTERED

                                                      /s/ Lisandra Ortiz
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  Dated: May 22, 2024                                 Attorney for the Applicants, Philippe Martinez
                                                      and MSR Media SKN Limited




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